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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

X

PRATIK PATEL, individually and as a

shareholder of PAN KING, Inc. d/b/a NY Chicken & Rice;

LALIT PATEL, individually and as a partner of

PAN KING, Inc. d/b/a NY Chicken & Rice
DOCKET #
2:21-cv-00759-JS-SIL

Plaintiffs,

-against-

NODDY SINGH, ARJUN SINGH, individually and as
shareholders of PAN KING, Inc. d/b/a NY Chicken & Rice

Defendants.

xX

DEFENDANTS NODDY SINGH AND ARJUN SINGH’S
MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR SUMMARY
JUDGMENT AGAINST PLAINTIFF’S COMPLAINT

Dated: August 25, 2023

Respectfully submitted,

/s/ Bobby Walia

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PRELIMINARY STATEMENT

This Memorandum of Law is respectfully submitted on behalf of Defendants Noddy
Singh and Arjun Singh (“Singhs”) (collectively, “Defendants”) in support of their
motion for an order granting Defendants summary judgment against Plaintiff Pratik
Patel (“Patel” or “Plaintiff’) complaint in its entirety, together with such other and
further relief as the Court deems just and proper.

By way of background, Patel had numerous meetings with Singhs before entering into a
shareholder agreement. A key component of the business relationship formed between
Singhs and Patel was the number of hours Patel would work. This part of the
relationship was bargained for and a fundamental part of the agreement. It was agreed
by Patel that he would work a minimum of 48 hours per week in exchange for 25% of the
shares of Pan King, Inc. Patel was only contributing $50,000.00 as an investment in Pan
King, Inc., this amount was far less than the amount paid for by Defendants toward the
initial endeavor and subsequent expansion of Pan King, Inc. It is undisputed that the
concept, branding, marketing, lease negotiations, location, recipe, were the work product
of the defendants, which Patel was buying into in exchange for $50,000 and working 48
hours.

It is undisputed that Patel breached the shareholder agreement by leaving without notice
in January of 2020. There was no written notice provided and he refused to come back
when asked because he wasn’t making enough money and had moved out of the state.
Defendants have established prima facie that Patel breached the shareholder agreement
by leaving without providing notice. The evidence comes directly from Patel who
admitted as much as part of his deposition, and through text messages which were sent.

Patel initially filed suit based on diversity jurisdiction for numerous claims based upon

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fraud and misappropriation of company assets. However, Patel as part of his deposition
on numerous occasions admitted that he did not see defendants commit any fraud or
convert company assets. The filing was a retaliatory measure taken because the company
did not make any profit and instead struggled to stay financially viable. Patel then
several years after the fact amended his complaint to add NY labor law claims alleging
that he did not make minimum wage and was not given overtime.

Patel was a bona fide exempt executive holding twenty-five (25%) of the shares, as per
Federal Labor Standards Act the exemption pertaining to bona fide exempt executives is
applicable on this matter to prevent Patel from claiming minimum wage or overtime
deficiencies. The proof comes from the pleadings, and deposition of all parties.
Defendants have established prima facie that Patel is a bone fide exempt executive being
that he holds twenty-five (25%) of the shares and meets the three-part test for
determining applicability of said exemption. However, to avoid this clear Federal
exemption Patel did not bring any Federal Labor law claims. Instead, plaintiff wants this
court to rule on New York Labor Law claims while actively disregarding knowledge that
Federal Law exempts plaintiff’s labor law claims. Plaintiff wants to nullify application
of the Federal Rules of Civil Procedure based upon his diversity jurisdiction case.
Plaintiff’s breach of contract and unpaid commissions claims are based upon pure
speculation and have no factual support on the record. Under NY CLS Bus Corp § 630
plaintiff cannot hold Singhs personally liable, as the notice was untimely. In any event,
Patel was paid minimum wages under as per New York State minimum wage standards.
In sum, Defendants are entitled to summary judgment dismissing Plaintiff’s complaint
in its entirety as a matter of law.

Patel filed state labor law claims which have an executive exemption and administrative

exemption with higher weekly salary requirements than Federal standards but even

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under State law analysis the claims fail.

Patel’s job was based on oversight and management, he was the only executive in charge
of his shift. He managed, directed the work of several employees. He hired Mr. Rehman,
told several other employees how to perform their job function. He also fired an
employee, Varun. He made work schedules routinely, was responsible was cashing out
his register. He told employees including Singhs when they should or should not come
into work. He kept track of inventory. His salary met minimum wage standards at the
time he was employed.

Even under NYLL Patel cannot make out a cognizable claim. The entire complaint is
based upon speculation and conjecture which is insufficient for this Court to rule on
based upon the clear Federal exemption and fulfillment of state minimum wage
requirements.

Patel was a bona fide exempt executive holding twenty-five (25%) of the shares, as per
Federal Labor Standards Act the exemption pertaining to bona fide exempt executives is
applicable on this matter. Patel was a food service worker who was given the tip credit
of up to $3.50, with $7.50 per hour in house pay as of December 31, 2017, state minimum
wage standards were met. Singhs cannot be individually liable for corporate acts as per
NY CLS Bus Corp § 630. Patel needs to answer for his unilateral breach which caused the

Singhs to sustain damages which remain due.

FACTS
For a recitation of the salient facts surrounding, the Court is respectfully referred to
Defendants’ Statement of Undisputed Facts (“Undisputed Facts”) and the Declaration of

Noddy Singh,(“Noddy Dec.”).

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ARGUMENT

I. LEGAL STANDARD FOR SUMMARY JUDGMENT

Summary judgment is warranted when “the pleadings, the discovery and disclosure
materials on file, and any affidavits show that there is no genuine issue as to any material
fact and that the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c);
see also, Roge v. NYP Holdings, Inc., 257 F.3d 164, 167 (2d Cir. 2001). To avoid summary
judgment, the non-moving party must show more than “metaphysical doubt as to the
material facts.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586, 106
S. Ct. 1348 (1986). Instead, the non-moving party must “set forth specific facts showing
that there is a genuine issue for trial.” Here we have noting but mere speculation and
conjecture as to profits when none existed. Defendants admitted that the company was
taking a loss but are upset about not making a profit. Fed. R. Civ. P. 56(e); see also, Golden
Pac. Bancorp v. FDIC, 375 F.3d 196, 200 (2d Cir. 2004), cert. denied, 546 U.S. 1012, 126 S. Ct.
621 (2005) (“[t]he non-moving party may not rely on mere conclusory allegations nor
speculation, but instead must offer some hard evidence showing that its

version of the events is not wholly fanciful.”) (quoting D’Amico v. City of New York, 132
F.3d 145, 149 (2d Cir.), cert. denied, 524 U.S. 911, 118 S. Ct. 2075 (1998)).

Notably, “[t]he mere existence of some alleged factual dispute between the parties will
not defeat an otherwise properly supported motion for summary judgment; the
requirement is that there be no genuine issue of material fact.” Here there are several
undisputed facts which point to why summary judgment should be granted. Anderson
v. Liberty Lobby, Inc., 477 U.S. 242, 247-48, 106 S. Ct. 2505, 2510 (1986). While this Court
must view the inferences to be drawn from the facts in the light most favorable to the

party opposing the motion, a party may not “rely on mere speculation or conjecture as to

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the true nature of the facts to overcome a motion for summary judgment.” Knight v. U.S.
Fire Ins. Co., 804 F.2d 9, 12 (2d Cir. 1986), cert. denied 480 U.S. 932, 107 S. Ct. 1570 (1987).
The non-moving party may only defeat the summary judgment motion by

producing sufficient specific facts to establish that there is a genuine issue of material
fact for trial. Celotex Corp. v. Catrett, 477 U.S. 317, 322-23, 106 S. Ct. 2548 (1986). “Where
the undisputed facts reveal that there is an absence of sufficient proof as to one essential
element of a claim, any factual disputes with respect to other elements become
immaterial and cannot defeat a motion for summary judgment.” Chandok v. Klessig, 632
F.3d 803, 812 (2d Cir. 2011). Finally, “mere conclusory allegations or denials’ in legal
memoranda or oral argument are not evidence and cannot by themselves create a genuine
issue of material fact where none would otherwise exist.” Quinn v. Syracuse Model
Neighborhood Corp., 613 F.2d 438, 445 (2d Cir. 1980) (quoting SEC v. Research
Automation Corp., 585 F.2d 31, 33 (2d Cir. 1978)). Indeed, “[a]t the summary judgment
stage of the proceeding, Plaintiffs are required to present admissible evidence in support
of their allegations; allegations alone, without evidence to back them up, are not
sufficient.” Welch-Rubin v. Sandals Corp., 2004 U.S. Dist. LEXIS 22112, *4, 2004 WL
2472280 (D. Conn. Oct. 20, 2004) (internal quotation marks and citations omitted).
Summary judgment is appropriate when the moving party can show that “little or no
evidence may be found in support of the nonmoving party’s case.” Cronin v. Aetna Life

Ins. Co., 46 F.3d 196, 202 (2d Cir. 1995).

Il. SUMMARY JUDGMENT SHOULD BE GRANTED AGAINST PLAINTIFF'S
COMPLAINT AS A MATTER OF LAW

A. PLAINTIFF’S LABOR LAW CLAIMS MUST BE DISMISSED BASED ON

PATEL BEING A BONA FIDE EXEMPT EXECUTIVE, FULFILLMENT OF NYLL
STANDARDS, AND DEFENDANTS BAR FROM PERSONAL LIABILITY
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Under the Fair Labor Standards Act (“FLSA”) a bona fide exempt executive is one who
holds more than twenty (20°%) percent of the shares, here, Patel owns twenty-five (25%)
percent of the shares. This fact is undisputed, uncontested, and admitted by Patel.
Federal courts when reviewing Fair Labor Standards Act are bound to accept this
exemption as part of their review. See Section 13 (a) (1) of the Act, 29 U.S.C.A. § 213 (a) (1),
The FLSA requires employers to pay overtime compensation to most employees who
work more than 40 hours in a week, while certain employees are “exempt” from the
overtime pay requirement. 29 U.S.C. § 206. An employee is exempt as a “bona fide
executive” if the employee meets three tests: (1) the employee is paid a “predetermined
and fixed salary” (salary basis test); (2) the salary exceeds a specified amount (salary level
test); and (3) the employee regularly performs certain job responsibilities (duties test).
See 29 U.S.C. 213(a)(1); 84 Fed. Reg. 51230. The salary basis test can be satisfied in two
ways. Under 29 CFR §541.602(a) (“§602(a)”), an employee meets the salary basis test if,
“the employee regularly receives each pay period on a weekly, or less frequent basis, a
predetermined amount,” which does not vary based on the amount of hours worked or
the quality of the work. For example, an employee whose pay is computed on a weekly
salary basis “must receive the full salary for any week in which the employee performs
any work without regard to the number of days or hours worked.” The general rule
considers employees to be executives when they are “[c]lompensated on a salary basis”
(salary-basis test); “at a rate of not less than $455 per week” (salary-level test); and carry
out three listed responsibilities. managing the enterprise, directing other employees, and
exercising power to hire and fire (duties test). §541.100(a). Here all three criteria are met
with respect to Patel. He had a preset salary which according to him was $550 exceeding
the $455 per week requirement. He not only hired and fired employees, directed their

duties, cashed out, set schedules, paid their salaries, maintained inventory,

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independently decided how to manage the day-to-day operation of Pan King, Inc.
Plaintiff attempts to skirt the Federal rules by making State Labor Law claims only

because these claims are exempt under Federal standards.

THIS COURT SHOULD ENFORCE FEDERAL STANDARDS

This Court is duty bound to accept the Federal exemption as part of it’s review, even if
the case is brought under diversity jurisdiction. Under Hanna v. Plumer and its progeny,
given the procedural nature of the labor law claims, federal law and federal rules of civil
procedure should prevail in federal court. The Plaintiff could have brought his NYLL
claim in state court but instead chose to bring it in Federal Court, as such he is bound by
federal law given the conflict between federal and state laws on this issue. This Court is
exercising jurisdiction solely because of the parties’ diverse citizenship, based upon the
original filing which did not contain any labor law claims and the amended filing which
incorporated NYLL claims. In Hanna rather than applying the prior outcome-
determinative test as in Erie Railroad Co. v. Tompkins situation, the court found federal
rules that are directly on point are controlling for any actions brought in a federal court.
On this labor law issue the federal law is directly on point. The clear analysis as
supported by the undisputed facts and clearly delineated federal law conclusively
demonstrate the applicability of the federal exemption to this diversity case.

Rules Enabling Act authorizes the Supreme Court to prescribe general rules of practice
and procedure and rules of evidence for the federal courts and the Constitution, it is to
be applied regardless of state law to the contrary. The rules that govern the process of
adjudication in our federal courts are prescribed by the U.S. Supreme Court pursuant to
a grant of authority contained in the Rules Enabling Act (REA), which empowers the

Court to craft "rules of practice and procedure," so long as those rules do not "abridge,

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enlarge or modify any substantive right." Fair Labor Standards Act is a procedural act
which directly applies to the labor law claims filed by the plaintiffs to exempt them
under the “bona fide executive” standard. Fair Labor Standards Act is a set of rules and
procedures which are used to determine who is an employee and who is not, to establish
minimum wage standards. These rules take precedent in federal court over state rules
because as much is mandated by the Rules Enabling Act and Hanna. The importance of
uniformity of laws cannot be understated and that is precisely what the procedure set

forth in the Fair Labor Standards Act and 29 U.S.C. § 206 sets to accomplish.

STATE LAW LABOR LAW CLAIMS FAIL BECAUSE MINIMUM WAGE
STANDARDS WERE MET

Patel was a front-end food services employee who was paid in cash and check. He had
little oversight when he took the cash. He took cash as compensation for tips that he
received. Under prevailing New York state labor laws at the time of his employment on
December 31, 2017, the tipped minimum wage was $7.50 per hour in house pay and a tip
credit of $3.50 for companies with fewer than ten (10) employees based in Long Island.
Patel testified he received $550 in compensation plus cash. Noddy Singh affirms Patel
was paid $650 per week plus cash. Even if we were to take the lower $550 figure to give
Patel the maximum benefit possible, that he worked a maximum of 60 hours per week.
Even tough, he admittedly didn’t work 60 hours every week, as there were days he took
off, or went home early, or went on vacation. Despite the aforementioned, if he is given
credit for 60 hours, which he admittedly worked a lot less, then the wages work out to
$7.50 x40= $300 plus overtime of 20 hours ((1 1/2x) which amounts to $11.25x20=$225, for
a total of $525. Given this calculation, plaintiffs have filed an entirely frivolous claim
and defendants should be awarded summary judgment on the merits as to all labor law

claims.
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SINGHS CANNOT BE HELD PERSONALLY LIABLE

Singhs were shareholders and cannot be held personally liable for any labor law claims
made against the company. Summary judgment should be granted as to Singhs because
plaintiffs served N.Y. Bus. Corp. Law §624 demand on December 16, 2020 more than 180
days after Patel left his employment on or about December of 2019. It is irrefutable that
the §624 demand was served almost a year after Patel left, as such, under N.Y. Bus. Corp.
Law §624 all labor law claims made against Singhs in their individual capacity must be
dismissed. The plaintiffs failed to serve the §624 demand 180 days after Patel left,

pointing to the fact that this was an after-thought, much like the amended complaint.

III. SUMMARY JUDGMENT SHOULD BE GRANTED AGAINST PLAINTIFF
ON THE COUNTER-CLAIM FOR BREACH AS A MATTER OF LAW

The Plaintiff admitted he quit, he further admitted he quit without providing written
notice, he admitted that he was not going to return. He signed an Agreement in his
individual capacity agreeing to work 48 hours and breached the same without
justification. The Plaintiff has not produced a single document where it is claimed that
he was not making a fair wage, he has not produced any documentation to show that he
was fired, he cannot produce a single piece of documentary evidence to show that he
provided written notice before breaching his contract. This contract was bargained for
and agreed upon with due consideration for the same and no justification has been
provided for it’s breach other than the fact that it was willfully done. As such, Singhs are
entitled to summary judgment on the breach of contract claim with damages to be
presented at the time of trial. A prima facie case for breach of contract requires a valid
agreement, performance by one party, breach by the other, and damages flowing from
the breach. Brueckner v. You Can Beam LLC, 2021 U.S. Dist. LEXIS 100662, at *15, 2021

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WL 2158733 (S.D.N.Y. May 27, 2021); see also LMEG Wireless, LLC v. Farro, 190 A.D.3d
716, 718, 140 N.Y.S.3d 593, 596 (2d Dep’t 2021) (“The essential elements of a breach of
contract cause of action are the existence of a contract, the plaintiff's performance
pursuant to the contract, the defendant’s breach of his or her contractual obligations, and
damages resulting from the breach.”); Ashby v. Baah, 2009 N.Y. Misc. LEXIS 5489 (Sup.
Ct. New York Cnty. Sep’t 8, 2009) (“To prevail on a breach of contract action, plaintiff
must establish an agreement, the performance by that party, breach by the other party,
and resulting damages.”) The damages which resulted are shown by the text which
states. With respect to damages Noddy Singh stated in a text and part of his declaration:
I have to invest another 40K. You left us backed up with everything. PSEG, 8K; National
Grid, 6K; rent, 6K, payroll four weeks, inventory for store, lease termination, 6 Jerusalem
Avenue, and construction cost.

Damages are defined and delineated as a direct consequence of Patel quitting
employment with Pan King, Inc. A prima facie showing for breach by Patel has been
made. Patel who was an employee entering into a bargained for agreement in his
individual capacity before the company was formed is personally responsible for
damages sustained by the Singhs as a result of his breach. The company was formed
September 19, 2017, the Agreement was entered into prior to the formation of the
company. Patel signed the Agreement in his individual capacity. Working a minimum
of 48 hours per week is what was bargained for and agreed upon with anticipated
damages for the breach in the amount of $250,000 clearly laid out. Despite the clear
language in the Agreement, Patel left unilaterally, refused to return and as much is

supported by the admissions of Patel for which summary judgment should be granted.

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Conclusion
For the reasons stated above Defendants’ motion for summary judgment should be
granted. Plaintiff’s claim under the NYLLS§ §195 (1), 198, 652 be dismissed, due to no claim
being made under the Fair Labor Standards Act because such claims if made, as
demonstrated, would be dismissed. The Court should enforce federal rules and
procedures over state-law claims. Singhs are not personally liable for labor law claims
brought against the company for failure to follow procedures outlined in N.Y. Bus. Corp.
Law §624. There is no claim under NYLL because minimum wage requirements were
met. The claim for summary judgment on the breach of contract claim should be granted
because the prima facie showing is undisputed and admitted by plaintiffs, working 48

hours per week is not servitude, he agreed to the same in his individual capacity.

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